          Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.1 Page 1 of 25

AO I06A (08/18) Application for a Warrant by Telephone or Other Reliable Electronic Means


                                      UNITED STATES DISTRICT COURT
                                                                         for the
                                                         Southern District of California

              In the Matter of the Search of                                 )
         (Briefly describe the property to be searched                       )
          or identify the person by name and address)                        )              Case No.    '21 MJ4755
    Information associated with Facebook User ID#                            )
   Christine.mckinney.1401 that is stored at premises                        )
                                                                             )
                controlled by Facebook

    APPLICATION FOR A WARRANT BY TELEPHONE OR OTHER RELIABLE ELECTRONIC MEANS
        I, a federal law enforcement officer or an attorney for the government, request a search warrant and state under
penalty of perjury that I have reason to believe that on the following person or property (identify the person or describe the
property to be searched and give its location):
  See Attachment A-1, incorporated herein by reference.

located in the             Northern .             District of - - - - -
                                                                      California
                                                                        - - - - - - - , there is now concealed (identify the
person or describe the property to be seized):


  See Attachment B-1, incorporated herein by reference.

          The basis for the search under Fed. R. Crim. P. 4 l(c) is (check one or more):
                 mevidence of a crime;
                 mcontraband, fruits of crime, or other items illegally possessed;
                 fl property designed for use, intended for use, or used in committing a crime;
                 •   a person to be arrested or a person who is unlawfully restrained.

          The search is related to a violation of:
             Code Section                                                                   Offense Description
        18 U.S.C. §§ 1591, 2421                   Sex trafficking by force, fraud, or coercion; Transportation for Prostitution



          The application is based on these facts:
        See Attached Affidavit of Special Deputy USM Michelle Storms, incorporated herein by reference.


           ~ Continued on the attached sheet.
           CJ Delayed notice of       days (give exact ending date if more than 30 days:                 _ _ _ _ _ ) is requested under
                18 U.S.C. § 3103a, the basis of which is set forth on the attached sheet.


                                                                                                        Applicant 's signature

                                                                                   Michelle Storms, Special Deputy United States Marshal_
                                                                                                       Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by
_ _ __ _ _ _ _ tel~h_o_n_e_ _ _ _ __ ~


Date:            12/09/2021


City and state: San Diego, California                                                                   . Schopler, U.S. Magistrate Judge
                                                                                                       Printed name and title
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.2 Page 2 of 25




 1   AFFIDAVIT IN SUPPORT OF APPLICATION FOR SEARCH WARRANT
 2           I, Michelle Storms, Special Deputy United States Marshal, being duly sworn
 3   hereby state as follows:
 4                                     INTRODUCTION
 5           1.    I make this affidavit in support of an application for a search warran
 6   under 18 U.S.C. §§ 2703(a), 2703(b)(l)(A) and 2703(c)(l)(A) for infonnatio
 7   associated with the following Facebook user Accounts (collectively referred t
 8   herein as the "Target Accounts") for the period from June 1, 2021 to August 1
 9   2021:
10                 a.   Christine Mckinney
11                      User ID# Christine.mckinney.1401
                         ("Target Account #1 ")
12
13                 b. Ashton Jordan

14                       User ID# Ashton.jordan.1291
                         ("Target Account #2")
15
16                 c. John Wick

17                       User ID# 100066013036816
                         ("Target Account #3")
18
19   These accounts are stored at the premises owned, maintained, controlled, or operate

20   by Facebook, 1601 Willow Road, Menlo Park, California 94025, more full

21   described in Attachments A-1, A-2, and A-3.

22           2. Based on my training and experience and the facts as set forth in thi

23   affidavit, there is probable cause to believe that evidence exists within the Targe

24   Accounts related to violations of federal law, including violations of 18 U.S.C. 1591

25   (Sex Trafficking by Force, Fraud, and Coercion), and 18 U.S.C. 2421

26   (Transportation for Purposes of Prostitution), as more fully described in Attachment

27   B-1, B-2, and B-3.

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.3 Page 3 of 25




 1         3.     The information set forth in this affidavit is based on my own persona
 2 knowledge, knowledge obtained from other individuals during my participation i
 3   this investigation, including other law enforcement officers, my review o
 4   documents and computer records related to this investigation, communications wit
 5   others who have personal knowledge of the events and circumstances describe
 6   herein, and information gained through my training and experience. Because thi
 7   affidavit is submitted for the limited purpose of obtaining a search warrant for th
 8   Target Accounts, it does not set forth each and every fact that I or others hav
 9   learned during the course of this investigation, but only contains those facts believe
10   to be necessary to establish probable cause.
11                           EXPERIENCE AND TRAINING
12         4.     I am a Deputy Sheriff for the San Diego County Sheriff's Department
13   I have been a Deputy Sheriff since January of 2011. I am currently assigned to th
14   San Diego Human Trafficking Task Force (SDHTTF) as a Task Force Office
15   (TFO), where I assist in the investigation of crimes concerning child exploitatio
16   and human trafficking. I have been assigned to this unit since May 2021. I was cros
17   sworn with the United States Marshal's Service on August 10, 2021.
18         5.     My experience as a Deputy Sheriff has included the investigation o
19   cases involving the use of computers and the Internet to commit crimes. I hav
20   received training and gained experience in interviewing and interrogatio
21   techniques, arrest procedures, search warrant applications, the execution of searche
22   and seizures, computer evidence seizure and processing, and various other crimina
23   laws and procedures. I have personally participated in the execution of searc
24   warrants involving the search and seizure of cellular telephones and other electroni
25   devices.
26         6.     I have become familiar with Facebook and other social media site
27   through my investigations. I have examined many Facebook profile pages and

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.4 Page 4 of 25




 I   have learned that suspects often use social media sites for communications in
 2   effort to bypass law enforcements attempts to uncover their criminal activity. Base
 3   on my training, experience, and communications with other law enforcemen
 4   officers, I have learned specific techniques in being able to identify suspects an
 5   associates even when they use fictitious names or aliases within social media sites.
 6   Through my training, experience, and consultation with other law enforcemen
 7   officers, I have learned that:
 8                 a.    Individuals involved in illicit commercial sex maintain records
 9   including electronic files, related to their illicit business on computers and compute
IO   servers hosting internet applications such as electronic mail ( email) and persona
11   social networking web pages;
12                 b.    Individuals involved in illicit commercial sex maintain record
13   of correspondence relating to client contact information as well as travel and lodgin
14   arrangements involved in such illegal activity;
15                 c.    Individuals involved in illicit commercial sex maintai
16   documents and files containing names of associates and/or coconspirators involve
17   in prostitution;
18                 d.    Individuals involved in illicit commercial sex maintain financia
19   records, bank statements, money orders, money order receipts, and cash that ar
20   evidence of payments made in conjunction with prostitution;
21                 e.    Individuals involved in illicit commercial sex use social medi
22   sites like Facebook to find clients and prostitutes. They use Facebook messagin
23   applications to communicate with prostitutes and customers to increase the·
24   mobility and coordinate illicit activities. They will often use multiple social medi
25   accounts in order to maintain contact with other pimps, prostitutes, complici
26   businesses, and clients.     These social media accounts contain electronic dat
27   concerning instant messaging, electronic mail and social media addresses of co

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.5 Page 5 of 25




 1   conspirators and clients, as well as contact information for co-conspirators an
 2   clients. Individuals involved in illicit commercial sex also utilize social media t
 3   store and display, commonly known as posting, photographs, videos, and text o
 4   themselves as well as other coconspirators for the purpose of electronic advertisin
 5   and promotion of prostitution.
 6         7.     Based upon my experience and training, and the experience and trainin
 7   of other agents with whom I have communicated, the evidence of illegal activi
 8   described above in paragraphs "a" through "e" is maintained by individuals involve
 9   in illicit commercial sex in property that they and their associates live in and operat
10   as well as on online accounts, including Facebook accounts, which can be accesse
11   on computers and cellular telephones.
12                 BACKGROUND INFORMATION ON FACEBOOK
13         8.     Facebook is a corporation that owns and provides a free-access online
14   social networking service and is headquartered in Menlo Park, California.
15   Facebook allows its users to establish accounts with Facebook, and users can then
16   use their accounts to share written news, photographs, videos, and other information
17   with other Facebook users, and sometimes with the general public.
18         9.     Facebook asks users to provide basic contact and personal identifying
19   information to Facebook, either during the registration process or thereafter. This
20   information may include the user's full name, birth date, gender, contact e-mail
21   addresses, Facebook passwords, Facebook security questions and answers (for
22   password retrieval), physical address (including city, state, and zip code), telephone
23   numbers, screen names, websites, and other personal identifiers. Facebook also
24   assigns a user identification number to each account.
25         10.    Facebook users may join one or more groups or networks to connect
26   and interact with other users who are members of the same group or network.
27   Facebook assigns a group identification number to each _group. A Facebook user
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.6 Page 6 of 25




 I   can also connect directly with individual Facebook users by sending each user a
 2   "Friend Request." If the recipient of a "Friend Request" accepts the request, then
 3   the two users will become "Friends" for purposes of Facebook and can exchange
 4   communications or view information about each other. Each Facebook user's
 5   account includes a list of that user's "Friends" and a "News Feed," which highlights
 6   information about the user's "Friends," such as profile changes, upcoming events,
 7   and birthdays.
 8         11.    Facebook users can select different levels of privacy for the
 9   communications and information associated with their Facebook accounts. By
10   adjusting these privacy settings, a Facebook user can make information available
11   only to himself or herself, to particular Facebook users, or to anyone with access to
12   the Internet, including people who are not Facebook users. A Facebook user can
13   also create "lists" of Facebook friends to facilitate the application of these privacy
14   settings. Facebook accounts also include other account settings that users can adjust
15   to control, for example, the types of notifications they receive from Facebook.
16         12.    Facebook users can create profiles that include photographs, lists of
17   personal interests, and other information. Facebook users can also post "status"
18   updates about their whereabouts and actions, as well as links to videos, photographs,
19   articles, and other items available elsewhere on the Internet. Facebook users can
20   also post information about upcoming "events," such as social occasions, by listing
21   the event's time, location, host, and guest list. In addition, Facebook users can
22   "check in" to particular locations or add their geographic locations to their
23   Facebook posts, thereby revealing their geographic locations at particular dates and
24   times. A particular user's profile page also includes a "Wall," which is a space
25   where the user and his or her "Friends" can post messages, attachments, and links
26   that will typically be visible to anyone who can view the user's profile.
27
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.7 Page 7 of 25




 1           13.   Facebook allows users to upload photos and videos, which may ·
 2   include any metadata such as location that the user transmitted when s/he uploaded
 3   the photo or video. It also provides users the ability to ''tag" (i.e., label) other
 4   Facebook users in a photo or video. When a user is tagged in a photo or video, he
 5   or she receives a notification of the tag and a link to see the photo or video. For
 6   Facebook's purposes, the photos and videos associated with a user's account will
 7   include all photos and videos uploaded by that user that have not been delete~ as .
                                                                                            I
 8   well as all photos and videos uploaded by any user that have that user tagged in
 9   them.
10           14.   Facebook users can exchange private messages on Facebook with
11   other users. These messages, which are similar to e-mail messages, are sent to the
12   recipient's "Inbox" on Facebook, which also stores copies of messages sent by the
13   recipient, as well as other information. Facebook users can also post comments on
14   the Facebook profiles of other users or on their own profiles; such comments are
15   typically associated with a specific posting or item on the profile. In addition,
16   Facebook has a Chat feature that allows users to send and receive instant messages
17   through Facebook. These chat communications are stored in the chat history for
18   the account. Facebook also has a Video Calling feature, and although Facebook
19   does not record the calls themselves, it does keep records of the date of each call.
20           15.   If a Facebook user does not want to interact with another user on
21   Facebook, the first user can "block" the second user from seeing his or her account.
22           16.   Facebook has a "like" feature that allows users to give positive
23   feedback or connect to particular pages. Facebook users can "like" Facebook posts ·
24   or updates, as well as webpages or content on third party (i.e., non-Facebook)
25   websites. Facebook users can also become "fans" of particular Face book pages.
26           17.   Facebook has a search function that enables its users to search
27   Facebook for keywords, usernames, or pages, among other things.
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.8 Page 8 of 25




 1         18.    Each Facebook account has an activity log, which is a list of the user's
 2   posts and other Facebook activities from the inception of the account to the present.
 3   The activity log includes stories and photos that the user has been tagged in, as well
 4   as connections made through the account, such as "liking" a Facebook page or
 5   adding someone as a friend. The activity log is visible to the user but cannot be
 6   viewed by people who visit the user's Facebook page.
 7         19.    Facebook Notes is a blogging feature available to Facebook users, and ,
 8   it enables users to write and post notes or personal web logs ("biogs"), or to import
 9   their biogs from other services.
10         20.    The Facebook Gifts feature allows users to send virtual "gifts" to their
11   friends that appear as icons on the recipient's profile page. Gifts cost money to
12   purchase, and a personalized message can be attached to each gift. Facebook users
13   can also send each other "pokes," which are free and simply result in a notification
14   to the recipient that he or she has been "poked" by the sender.
15         21.    Facebook also has a Marketplace feature, which allows users to post
16   free classified ads. Users can post items for sale, housing, jobs, and other items on
17   the Marketplace.
18         22.    In addition to the applications described above, Facebook also
19   provides its users with access to thousands of other applications ("apps") on the
20   Facebook platfonn.      When a Facebook user accesses or uses one of these
21   applications, an update about that the user's access or use of that application may
22   appear on the user's profile page.
23         23.    Facebook uses the tenn "Neoprint" to describe an expanded view of a
24   given user profile. The "Neoprint" for a given user can include the following
25   information from the user's profile:      profile contact information; News Feed
26   information; status updates; links to videos, photographs, articles, and other items;
27   Notes; Wall postings; friend lists, including the friends' Facebook user
                                               7
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.9 Page 9 of 25




 1   identification numbers; groups and networks of which the user is a member,                1




 2   including the groups' Facebook group identification numbers; future and past event
 3   postings; rejected "Friend" requests; comments; gifts; pokes; tags; and information
 4   about the user's access and use ofFacebook applications.
 5         24.    Facebook also retains Internet Protocol ("IP") logs for a given user ID
 6   or IP address. These logs may contain information about the actions taken by the
 7   user ID or IP address on Facebook, including information about the type of action,
 8   the date and time of the action, and the user ID and IP address associated with the
 9   action. For example, if a user views a Facebook profile, that user's IP log would
10   reflect the fact that the user viewed the profile, and would show when and from ,
11   what IP address the user did so.
12         25.    Social networking providers like Facebook typically retain additional
13   information about their users' accounts, such as information about the length of
14   service (including start date), the types of service utilized, and the means and source   i

15   of any payments associated with the service (including any credit card or bank
16   account number). In some cases, Facebook users may communicate directly with
17   Facebook about issues relating to their accounts, such as technical problems, billing
18   inquiries, or complaints from other users.        Social networking providers like
19   Facebook typically retain records about such communications, including records of
20   contacts between the user and the provider's support services, as well as records of .
                                                                                               I


21   any actions taken by the provider or user as a result of the communications.
22         26.    As explained herein, information stored in connection with aFacebook
23   account may provide crucial evidence of the "who, what, why, when, where, and
24   how" of the criminal conduct under investigation, thus enabling the United States
25   to establish and prove each element or alternatively, to exclude the innocent from
26   further suspicion. In my training and experience, a Facebook user's "Neoprint," IP .
27   log, stored electronic communications, and other data retained by Facebook can
                                                8
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.10 Page 10 of 25




 1   indicate who has used or controlled the Facebook account. This "user attribution"
 2   evidence is analogous to the search for "indicia of occupancy" while executing a
 3   search warrant at a residence. For example, profile contact information, private
 4   messaging logs, status updates, and tagged photos (and the data associated with the
 5   foregoing, such as date and time) may be evidence of who used or controlled the
 6   Facebook account at a relevant time. Further, Facebook account activity can show
 7   how and when the account was accessed or used. For example, as described herein,
 8   Facebook logs the Internet Protocol (IP) addresses from which users access their
 9   accounts along with the time and date. By determining the physical location
1O associated with the logged IP addresses, investigators can understand the
11   chronological and geographic context of the account access and use relating to the
12   crime under investigation. Such information allows investigators to understand the
13   geographic and chronological context of Facebook access, use, and events relating
14   to the crime under investigation. Additionally, Facebook builds geo-location into
15   some of its services. Geo-location allows, for example, users to "tag" their location
16   in posts and Facebook "friends" to locate each other. This geographic and timeline
17   information may tend to either inculpate or exculpate the Facebook account owner.
18   Last, Facebook account activity may provide relevant insight into the Facebook
19   account owner's state of mind as it relates to the offense under investigation. For
20   example, infonnation on the Facebook account may indicate the owner's motive
21   and intent to commit a crime (e.g., information indicating a plan to commit a crime),
22   or consciousness of guilt (e.g., deleting account information in an effort to conceal
23   evidence from law enforcement).
24         27.    Therefore, the computers of Facebook are likely to contain all the
25   material described above, including stored electronic communications and
26   information concerning subscribers and their use of Facebook, such as account
27   access information, transaction information, and other account information.
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.11 Page 11 of 25




 1                     FACTS IN SUPPORT OF PROBABLE CAUSE
 2          28.    On July 11, 2021, TFOs from the SDHTTF interviewed a 21-year-old
 3   woman (AF) at Scripps Mercy Hospital, who was being treated for pain in her
 4   knee, scratching, and bruising on her body. During that interview, AF told TFOs
 5   that she met "Greedy" or "Jordan" (later identified as Ashton Tylon Amir
 6   JORDAN) in Las Vegas, Nevada, in mid-June 2021, when he recruited her to work
 7   for him as a prostitute. Shortly thereafter, he drove her to Phoenix, Arizona to
 8   continue to perform commercial sex acts. The week of July 8, 2021, he flew her to
 9   San Diego, California to continue to engage in commercial sex. (In a later
10   interview, AF clarified that she and JORDAN had driven to San Diego from
11   Phoenix.) AF stated that JORDAN took her two cell phones, numbers: 323-603-
12   8800 and 424-328-9118, and used them to post commercial sex advertisements of
13   her on various online websites, including megapersonals.com (MP) 1• JORDAN did
14   not let AF post her own advertisements on MP, although he occasionally let her
15   post her advertisements on another website skipthegames.com (SG)2. AF
16   explained that JORDAN had "rules" for her including but not limited to: she was
17   to keep her head down and not speak with other African-American males; she had
18   to give him all the money she made from a commercial sex transaction
19   immediately; and she had to walk in front of him when they walked together. If
20   AF did not follow the rules, she stated that JORDAN would slap or punch her
21   body. She was required to earn $1,800 each day, and she did not get any days off.
22   AF stated that JORDAN bought himself clothes with the money she made. She
23   stated that JORDAN kept all the money she earned from commercial sex
24   encounters, and that he controlled what she ate, drank, and bought. In particular,
25
     ' In my training and experience, I am familiar with megapersonals.com, which is a website
26   operating in interstate commerce that is used to post advertisements offering commercial sex.
     2 In my training and experience, I am familiar with skipthegames.com, which is a website
27   operating in interstate commerce that is used to post advertisements offering commercial sex.

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.12 Page 12 of 25




 1   AF stated that during her time with JORDAN in San Diego, he did not let her eat.
 2   According to AF, JORDAN had been violent with AF throughout the month she
 3   was with him, but she did not leave him in Arizona because she had no money or
 4   transportation, and she was not familiar with the area. JORDAN was mostly violent
 5   with AF when her family or friends contacted her.
 6          29.    AF related that on July l 0, 2021, she had used her "trap" phone 3 to
 7   text family members. She told them she was not happy and wanted to leave.
 8   JORDAN later saw those text messages and while inside room # 117 of the
 9   Baymont Hotel 4, he punched her multiple times all over her body. Then, while she
10   was on the bed, JORDAN got on top of her, and held a pocket knife to her throat,
11   and told her he was going to kill her. According to AF, she pleaded with him to
12   stop, and _h e eventually got off of her. A short time later, they were outside of the
13   hotel room sitting on steps when she told him to just let her leave if he doesn't like
14   her. JORDAN had previously threatened AF that if she left him, once he saw her,
15   he would kill her. Upon her saying this, according to AF, JORDAN then struck her
16   on the side of the head.         AF quickly stood up, and while barefoot with no
17   belongings, she ran away from JORDAN. She reported that she ran to the lobby of
18   the Baymont Hotel but it was locked. She ran to Ash Street and asked people for
19   help, but they did not help her. She continued to run to a nearby Days Inn Hotel,
20   located at 833 Ash Street, where she ran to the lobby, told the manager JORDAN
21   was going to kill her, and begged him to let her inside. There, the manager told her
22   to leave and locked the doors. AF reported to TFOs that she feared JORDAN had
23   followed her, so she hid behind bushes and an ice machine until she ran into a guest
24
25   l In my training and experience, I am aware that individuals working in commercial sex will
     often have multiple cell phones. One is sometimes referred to as a "trap" phone and is used to
26   communicate with sex buyers.
     4 The Baymont Hotel is located at 719 Ash Street, San Diego, California, in the Southern District
27   of California.
                                                    11
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.13 Page 13 of 25




 1   at the hotel in room #406, who let her in and called 911. San Diego Police
 2   Department (SDPD) Officers responded to the scene. AF told them what had
 3   happened, and she was transported to Scripps Mercy Hospital for treatment for her
 4   injuries. At the hospital, she told the staff what had happened.
 5          30.    After obtaining AF's statement, TFOs took photographs documenting
 6   her injuries. She had abrasions on her elbows, hands, and both knees, and bruises
 7   on her right buttock and left ribcage. TFOs also contacted Baymont Hotel. They
 8   learned that JORDAN had already checked out and had taken all personal
 9   belongings from inside the room with him, including AF's cell phones. Baymont
10   Hotel provided TFOs with the registry for the room, which confirmed that room
11   #104 had been rented by JORDAN on July 9, 2021 and that on July 10, 2021 he
12   had switched to room # 117. A later review of hotel surveillance footage showed
13   JORDAN and AF in the lobby of the Baymont Hotel together on July 9, 2021,
14   checking in. Additional surveillance from cameras facing room # 117 revealed that
15   on July 10, 2021 5, multiple men entered and exited the room during JORDAN and
16   AF's stay. TFOs observed repeated instances of JORDAN leaving room #117,
17   followed minutes later by an unknown male arriving. After the unknown males
18   were observed exiting, JORDAN was then observed returning to the room. For
19   example, on July I 0, 2021, between 1:30 p.m. and 4:30 p.m., three men entered
20   room # 117 and then exited within 15 minutes. In each instance, JORDAN exited
21   the room within minutes prior to the unknown males arriving, and positioned
22   himself partially hidden in stairwells, but with a view of the parking lot. JORDAN
23   watched as the males left and when they walked out of view of the camera, usually
24   5 In viewing the video surveillance facing room # I 17, TFOs realized that the date/time stamp o
25   the video appears to be approximately 12 hours fast. (They determined this based on the visibl
     daylight in the video, as well as the timing of AF and JORDAN's check-in to the hotel and AF'
26   flight from the hotel/contact with law enforcement.) Times and dates stated herein reflect TFO'
     corrections for example, the surveillance footage stamped "July 11, 2021, 0 I :30:00" is in reali
27   July 10, 2021, at approximately 13:30.
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.14 Page 14 of 25




 1   within minutes, he went back to room # 117 6 • Surveillance footage from the night
 2   of July 10, 2021, also captured JORDAN striking AF on the head just before 10:00
 3   p.m. on July 10, 2021. TFOs observed on the video that AF then ran away, and
 4   JORDAN chased after her. TFOs also reviewed surveillance footage from the Days
 5   Inn Hotel at 833 Ash Street. That footage showed AF running to the parking lot at
 6   approximately 10:07 p.m. Although the footage contains no audio, TFOs relayed
 7   that AF appeared distressed and scared, and appeared to have pleaded with the
 8   manager to let her into the lobby. They observed her then run to some bushes
 9   looking scared and upset, before going to the fourth floor and hiding behind an ice
1O machine. AF was observed banging on the door to room #407 crying and
11   screaming. The guests did not let her in. Eventually, some guests walked by and
12   entered room #406 and let AF in until SDPD arrived.
13          31.     TFOs located multiple online commercial sex advertisements on MP,
14   in San Diego, California containing photographs of AF. The phone number
15   associated with the advertisements, 323-603-8800, is the same number that AF
16   provided for JORDAN. Law enforcement database checks further confirmed that
17   that phone number was registered and owned by JORDAN. TFOs also located
18   multiple online commercial sex advertisements on both MP and SG where the
19   number associated with the advertisements was AF's, 424-328-9118. The SG
20   advertisements using AF's number were posted on May 22, 2021 and June 12,
21   2021, in Las Vegas, Nevada. Those advertisements used the same photographs. On
22   June 15, 2021, around the time that AF estimated she began working for JORDAN,
23   a new advertisement was posted on MP out of Las Vegas, with new photographs
24   and a new name for AF, "China". A few days later, that same advertisement
25
26   6 Based on my training and experience, I know that this is consistent with the role that a trafficke
     would play, staying nearby to ensure that the commercial sex encounter is successful and retumin
27   at its conclusion to co11ect the money.

                                                      13
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.15 Page 15 of 25




 1   appeared in Phoenix, AZ. The first advertisement in San Diego, California, which
 2   was associated with JORDAN'S phone, was located on MP dated July 8, 2021.
 3         32.    AF was shown a photographic line up and identified the picture
 4   associated with JORDAN as the individual who brought her to San Diego and
 5   forced her to engage in commercial sex.
 6         33.    A few days after AF ran away and contacted law enforcement, AF's
 7   social media accounts, all of which were accessible from her cell phone, which was
 8   in the possession of JORDAN, appeared to have been hacked. Sexually explicit
 9   videos depicting AF and JORDAN together were sent to several of the contacts in
10   her friend lists on Snapchat, Instagram, and Facebook Messenger. AF attempted to          1




11   change her passwords, but each time, the passwords were reset through her email
12   account, which was also accessible from her cell phone. The social media messages
13   thus continued.
14         34.    On July 17, 2021, TFOs met with AF at the San Diego Airport. AF
15   showed TFOs messages from her Snapchat account that had been "screenshot" ( a
16   picture taken of the image displayed on the screen of a cellphone) and sent to her. The   I


17   message was from a friend of AF, in response to a picture of AF and JORDAN
18   together. It was a supportive message explaining that she (AF's friend) had left a
19   similar situation and told AF she could do better. According to AF, JORDAN sent that
20   screenshot    message     to    AF     at    her   Facebook     messenger      account
21   (Christine.mckinney.1401, Target Account #1), via his Facebook Messenger
22   account (Ashton.jordan.1291 , Target Account #2) and said, "Oh yeah huh". I
23   JORDAN then sent the screenshot message again and said "Keep it up." According to
24   AF, she did not reply to JORDAN's messages. She believes that the only way
25   JORDAN could have seen those messages was by logging into AF's Snapchat account.
26         35.    AF also advised TFOs that someone using a Facebook account named
27   "John Wick," with a Facebook ID: 100066013036816 (Target Account #3), had
                                                 14
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.16 Page 16 of 25




 1   messaged her Facebook Messenger account. The message said "You better pray
 2   on your kids you never see me P." This Facebook account did not have a picture,
 3   and only had one friend, but it stated the user currently lived in Phoenix, Arizona 7
 4   and was from Los Angeles, California. AF told TFOs that she believed it was
 5   JORDAN because she had blocked his other account, and he had threatened her
 6   before if she ever left him, he would kill her.
 7          36.    Later that evening, AF sent TFO Storms a screenshot of a message she
 8   believed JORDAN sent to one of her Snapchat friends, stating "Bd Weirdo Ass," via
 9   her account. The photograph sent appeared to be a screenshot of what looked like a
10   sexually explicit video of AF performing oral sex. AF stated thereafter she deleted her
11   Snapchat account.
12          37.    On July 20, 2021, AF sent TFO Storms a screenshot of her Facebook
13   Messenger account (Target Account #1). She claimed that JORDAN had gotten into
14   her account and changed her password again. JORDAN messaged her, from her own
15   account, a "Kissy Face" and a "Thumbs Up" emoji. AF messaged back, told him to,
16   "Get off her Shit" and asked him what her password was. She accused JORDAN of
17   changing it and he denied it.
18         38. Based on the facts above, there is reason to believe that JORD

19   engaged in commercial sex trafficking of AF. There is also reason to believ

20   JORDAN used Target Accounts# 2 and 3 to send threats and sexually explici

21   videos to AF and her associates through her social media accounts.

22          39.    Based on my training and experience, and consultation with la

23   enforcement agents who have training and experience investigating sex traffickin

24 offenses, I know that individuals will often utilize multiple social media accounts t
25   communicate with customers and individuals involved in prostitution. Similarly

26
     7 JORDAN's   Department of Motor Vehicle infonnation, as weJI as the address associated with th
27   account for Target Phone# I, list a home address in Phoenix, Arizona.

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.17 Page 17 of 25




 1   multiple social media accounts are commonly used to make contact with minors an
 2   adults to persuade and induce them into engaging in sex trafficking b
 3   communicating using Facebook as described above. Based on the facts of this case
 4   I believe that evidence exists within the Target Accounts related to violations o
 5   federal law, including violations of 18 U.S.C. 1591 (Sex Trafficking by Force
 6   Fraud, and Coercion), and 18 U.S.C. 2421 (Transportation for Purposes o
 7   Prostitution). Additionally, the search of the Target Accounts may also identi
 8   other individuals engaged in sex trafficking.
 9                   PROCEDURES FOR ELECTRONICALLY STORED
10                               INFORMATION
11         40.    Federal Agents, cross-designated Task Force Officers and investigativ
12   support personnel are trained and experienced in identifying communication
13   relevant to the crimes under investigation. The personnel of Facebook (hereinafte
14   "the internet service provider" or "the ISP") are not. It would be inappropriate an
15   impractical for federal agents to search the vast computer network of the ISP for th
16   relevant accounts and then to analyze the contents of those accounts on the premise
17   of the ISP. The impact on the ISP's business would be severe.
18         41.    Therefore, I request authority to seize all content, including electroni
19   mail and attachments, stored instant messages, stored voice messages, photographs
20   and any other content from the Facebook accounts, as described in Attachments B
21   1, B-2, and B-3. In order to accomplish the objective of the search warrant with
22   minimum of interference with the business activities of the ISP, to protect th
23   privacy of the ISP's subscribers whose accounts are not authorized to be searched
24   and to effectively pursue this investigation, the Federal Bureau oflnvestigation seek
25   authorization to allow the ISP to make digital copies of the entire contents of th
26   accounts subject to seizure. The copies will be provided to me or to any authorize
27   federal agent. The copies will be imaged and the images will then be analyzed t

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.18 Page 18 of 25




 1   identify communications and other electronic records subject to seizure pursuant t
 2   Attachments B-1, B-2, and B-3. Relevant electronic records will be copied t
 3   separate media. The original media will be sealed and maintained to establis
 4   authenticity, if necessary.
 5         42.    Analyzing the data to be provided by the ISP may require specia
 6   technical skills, equipment, and software. It may also be very time-consuming
 7   Searching by keywords, for example, often yields many thousands of"hits," each o
 8   which must be reviewed in its context by the examiner to determine whether the da
 9   is within the scope of the warrant. Merely finding a relevant "hit" does not end th
1O review process. Keyword searches do not capture misspelled words, reveal the us
11   of coded language, or account for slang. Keyword searches are further limited whe
12   electronic records are in or use foreign languages. Certain file formats also do no
13   lend themselves to keyword searches. Keywords search text. Many commo
14   electronic mail, database and spreadsheet applications, which files may have bee
15   attached to electronic mail, do not store data as searchable text. Instead, such dat
16   is saved in a proprietary non-text format. And, as the volume of storage allotted b
17   service providers increases, the time it takes to properly analyze recovered dat
18   increases dramatically. The ISP does not always organize the electronic files the
19   provide chronologically, which makes review even more time consuming and ma
20   also require the examiner to review each page or record for responsive material.
21         43.    Based on the foregoing, searching the recovered data for th
22   information subject to seizure pursuant to this warrant may require a range of dat
23   analysis techniques and may take weeks or even months. Keywords need to b
24   modified continuously based upon the results obtained and, depending on th
25   organization, format, and language of the records provided by the ISP, examiner
26   may need to review each record to determine if it is responsive to Attachments B-1
27   B-2, and B-3. The personnel conducting the examination will complete the analysi
                                              17
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.19 Page 19 of 25




 l   and within ninety (90) days of receipt of the data from the service provider, absen
 2 further application to this court.
 3         44.    Based upon my experience and training, and the experience and trainin
 4   of other agents with whom I have communicated, it is necessary to review and seiz
 5   all electronic communications that identify any users of the subject account(s) an
 6   any electronic mails sent or received in temporal proximity to incriminatin
 7   electronic mails that provide context to the incriminating mails.
 8         45.    All forensic analysis of the imaged data will employ search protocol
 9   directed exclusively to the identification, segregation and extraction of data with·
10   the scope of this warrant.
11                  GENUINE RISK OF DESTRUCTION OF EVIDENCE
12         46.    Based upon my experience and training, and the experience and trainin
13   of other agents with whom I have communicated, electronically stored data can b
14   permanently deleted or modified by users possessing basic computer skills. In thi
15   case, only if the subject receives advance warning of the execution of this warrant
16   will there be a genuine risk of destruction of evidence. In addition, preservatio
17   requests were sent to Facebook ordering the preservation of data associated with th
18   Target Accounts.
19                    PRIOR ATTEMPTS TO OBTAIN THIS EVIDENCE
20         4 7.   The United States has viewed posts, photographs, and information fro
21   public portions of the Target Accounts. However, as explained above, not all th
22   information requested will be available through this method, particularly related t
23   Facebook Messenger information.
24                                         CONCLUSION
25         48.    Based on the foregoing, I respectfully submit that there is probabl
26   cause to believe that evidence, fruits, and instrumentalities of violations of 18 U.S.C
27   §§ 1591 and 2421, as described in Attachments B-1, B-2, and B-3, are likely to b

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.20 Page 20 of 25




 1   found in the property to be searched, as described in Attachments A-1, A-2, and A
 2   3.
 3
 4
                                                  Michelle Storms
 5
                                                  Special Deputy
 6                                                United States Marshal
 7
     Attested to by the applicant in accordance with the requirements of Fed. R. Crim.
 8   P. 4.1 by telephone on this 9 day of December 2021.
 9
10
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12                                         United States Magistrate Judge
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.21 Page 21 of 25




 1                                ATTACHMENT A-1
 2
           This warrant applies to information associated with the following Facebook
 3   user Accounts:
 4
                 a) Christine Mckinney
 5                 User ID# Christine.mckinney .1401
 6                  ("Target Account #1 ")
 7
 8         Target Account #1 is currently stored at premises owned, maintained
 9   controlled, or operated by Facebook LLC., a wholly owned subsidiary ofFaceboo
lO   Inc., a company headquartered at 1601 Willow Road, Menlo Park, CA 94025.
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.22 Page 22 of 25




 1                                   ATTACHMENT B-1
 2
           I.     Service of Warrant
 3
 4          The officer executing the warrant shall permit Facebook, as custodian of th
 5   computer files described in Section II below, to locate the files relevant to attachmen
     A and copy them onto removable electronic storage media and deliver the same t
 6
     the officer or agent.
 7
 8         II.    Information to be disclosed by Facebook, LLC
                  To the extent that the information described in Attachment A-1 1
 9
     within the possession, custody, or control of Facebook, LLC, including an
10   messages, records, files, logs, or information that have been deleted but are stil
11   available to Facebook, LLC, or have been preserved pursuant to a request mad
     under 18 U.S.C. § 2703(f), Instagram, LLC is required to disclose the followin
12
     information to the government for each account listed in Attachment A-1:
13
14         All identity and contact information, including full name, e-mail address
15   physical address (including city, state, and zip code), date of birth, phone numbers
     gender, hometown, occupation, and other personal identifiers;
16
17         All past and current usemames associated with the account;
18
           The dates and times at which the account and profile were created, and th
19
     Internet Protocol ("IP") address at the time of sign-up;
20
21         All activity logs including IP logs and other documents showing the I
     address, date, and time of each login to the account, as well as any other log fil
22
     information;
23
24         All information regarding the particular device or devices used to login to o
25   access the account, including all device identifier information or cookie information
     including all information about the particular device or devices used to access th
26
     account and the date and time of those accesses;
27

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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.23 Page 23 of 25




 1         All data and infonnation associated with the profile page, includin
 2   photographs, videos, "bios," and profile backgrounds and themes;

 3         All communications or other messages sent or received by the account;
 4
 5       All user content created, uploaded, or shared by the account, including an
     comments made by the account on photographs or other content;
 6

 7         All photographs, images, and video in the user gallery for the accoun
 g   including Exchangeable Image File ("EXIF") data and any other metadata associate
 9   with those photos and videos;

10         All location data associated with the account, including geotags;
11
           All data and infonnation that has been deleted by the user;
12
13         A list of all of the people that the user follows on Facebook and all peopl
14   who are following the user (i.e., the user's "following" list and "followers'' list), a
15   well as any friends of the user;

16
           A list of all users that the account has "unfollowed" or blocked;
17
18         All privacy and account settings;

19
           All records ofFacebook searches perfonned by the account, including all pas
20   searches saved by the account;
21
           All infonnation about connections between the account and third-p
22
     websites and applications; and,
23
24         All records pertaining to communications between Facebook, LLC and an
25   person regarding the user or the user's Instagram account, including contacts wit
     support services, and all records of actions taken, including suspensions of th
26   account.
27
                                               22
     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.24 Page 24 of 25




 1         III.   Information to be seized by the government
 2
            The search of the data supplied by Facebook pursuant to this warrant will b
 3
     conducted by the FBI or other law enforcement agent as provided in the "Procedure
 4   for Electronically Stored Information" section of the affidavit submitted in suppo
 5   of this search warrant and will be limited to the period of June 1, 2021 to August 1
     2021, and to the seizure of:
 6
 7         a. Communications, records, and attachments tending to discuss or establis
 8            the user of the account is engaged in sex trafficking and transportation fo
              illegal sexual activity in violation of 18 U .S.C. §§ 1591 and 2421;
 9
           b. Communications, records, and attachments that provide context to an
10            communications described above, such as messages sent or received i
11            temporal proximity to any relevant activity on the account;
           c. Evidence indicating how and when the Facebook account was accessed o
12
              used, to determine the chronological and geographic context of accoun
13            access, use, and events relating to the crime under investigation and to th
14            Instagram account owner;
15         d. Communications, records, and attachments tending to identify the owne
              of the Facebook account, and any co-conspirators involved in se
16
              trafficking in violation of 18 U.S.C. § 1591 and 2421;
17         e. Evidence indicating the Facebook account owner's or co-conspirator'
18            state of mind as it relates to the crime under investigation;
           f. The identity of the person(s) who created or used the user ID, includin
19
              records that help reveal the whereabouts of such person(s);
20         g. Evidence tending to identify other facilities, storage devices, or services
21            such as email addresses, IP addresses, phone numbers-that may contai
              evidence of the efforts described in (a) and (b);
22
           h. Evidence tending to identify co-conspirators, criminal associates, or other
23            involved in the efforts described in (a) and (b);
24         1. Evidence tending to identify funding sources, bank accounts, and financin

25            methods involved in the efforts described in (a) and (b);
           j. Evidence tending to identify the user of, or persons with control over o
26            access to, the Target Accounts;
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     Case 3:21-mj-04755-AGS Document 1 Filed 12/09/21 PageID.25 Page 25 of 25




 l         k. Evidence tending to identify signs, writings, clothing, music, documents
 2            articles of personal property, videos, communications, photographs, o
              other forms of media evidencing the existence of-or association with-
 3
              conspiracy to conduct racketeering enterprise affairs (human trafficking
 4            financial crimes, and murder, kidnapping, robbery, or other forms o
 5            violent crime);
           l. Evidence tending to indicate the account owner's state of mind as it relate
 6
              to the crimes under investigation; and/or;
 7         m. tending to indicate efforts to possess controlled substances with intent t
 8            deliver them;
           n. tending to identify accounts, facilities, storage devices, and/or services
 9
              such as email addresses, IP addresses, and phone numbers-used t
10            facilitate the possession of a controlled substance for sale;
11         o. tending to iderttify coconspirators, criminal associates, or others involve
              in sale of controlled substances; or
12
           p. tending to place in context, identify the creator or recipient of, or establis
13            the time of creation or receipt of communications, records, or dat
14            described above.
15
16   which are evidence of violations of Title 18 U.S.C. sections 1591 and 2421

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